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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MEREDITH WALKER, ET AL.,                        )
                                                )
        Plaintiffs,                             )
                                                )
v.                                              )          Case No. 4:18-CV-1699 SEP
                                                )
CITY OF ST. ANN, MISSOURI,                      )
                                                )
        Defendant.                              )

                      FOURTEENTH AMENDED CASE MANAGEMENT ORDER

        On November 4, 2018, this matter was severed from Thomas v. City of St. Ann,
Missouri, Case No. 4:16-cv-01302, and this case was opened. The original Case
Management Order was entered on November 2, 2018, and the original discovery deadline
was December 13, 2019. Doc. 8. In the thirty-three months since that original discovery
deadline, the Court has issued twelve amended case management orders at the request of
the parties. See Docs. 29, 36, 42, 47, 53, 59, 64, 69, 71, 84, 86, 90.1 The parties now jointly
move to amend the Case Management Order yet again. See Doc. 91. There is no evidence
that the parties are acting in bad faith, and the parties have provided sufficient justification
for each individual request. Therefore, the Court will grant this final request. But, in the
interest of seeing this case to completion, this is the last motion for amendment that the
Court will entertain in this matter. And during the additional time granted, the Court
will require the parties to make another attempt at settling the case through alternative
dispute resolution. Accordingly,
        IT IS HEREBY ORDERED that the parties’ joint motion to amend the case
management order (Doc. [91]) is GRANTED. The case management deadlines are
amended and extended as follows:
             1) Each party is permitted to take a total of 20 depositions between Walker et


1
 Although the most recently issued Case Management Order, Doc. 90, is labelled “Twelfth Amended
Case Management Order,” it is actually the thirteenth.

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            al. v. St. Ann, 4:18-cv-01699 and Thomas et al. v. St. Ann, 4:16-cv-01302.
        2) The parties shall complete all discovery in this matter no later than
           September 30, 2022.
        3) The parties will be referred to alternative dispute resolution on August 17,
           2022; that reference shall terminate on November 1, 2022.
        4) Any motions to limit or exclude expert testimony shall be filed no later than
           October 18, 2022. Opposition briefs shall be filed no later than November
           22, 2022, and any reply brief shall be filed no later than December 7,
           2022.
        5) Any motion for class certification shall be filed no later than January 6,
           2023. Opposition briefs shall be filed no later than March 6, 2023, and any
           reply brief shall be filed no later than March 21, 2023. The parties shall
           confer regarding the need for a hearing on any motion for class certification
           and propose mutually agreeable dates for such a hearing to the Court by no
           later than March 21, 2023.



    Dated this 17th day of August, 2022.



                                           SARAH E. PITLYK
                                           UNITED STATES DISTRICT JUDGE




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